         Case 19-00252-JJG-13   Doc 48 Filed 02/03/20 EOD 02/03/20 16:22:34    Pg 1 of 1
                                SO ORDERED: February 3, 2020.




                                ______________________________
                                Jeffrey J. Graham
                                United States Bankruptcy Judge

                          UNITED STATES BANKRUPTCY COURT                   S000300 (rev 12/2019)
                                Southern District of Indiana
                                 46 E. Ohio St., Rm. 116
                                  Indianapolis, IN 46204
In re:

Johnny Darrell Lorick,                                 Case No. 19−00252−JJG−13
            Debtor.

                                ORDER CONTINUING HEARING

A Motion to Continue Hearing was filed on February 3, 2020, by Creditor Colonial
National Mortgage, a division of Colonial.

         Continued Hearing on Objection to Confirmation of Amended Plan filed by
         Colonial National Mortgage

IT IS ORDERED that the Motion to Continue Hearing is GRANTED.

NOTICE IS GIVEN that a hearing will be held as follows:

         Date: March 10, 2020
         Time: 02:30 PM EDT
         Place: Rm. 311 U.S. Courthouse
                46 E. Ohio St.
                Indianapolis, IN 46204

Motions for continuance must be filed no later than 7 days prior to the hearing. Motions
for continuance filed less than 7 days prior to the hearing will be granted only upon a
showing of good cause. Every motion for continuance must indicate whether opposing
counsel objects to the continuance or what efforts were made to contact opposing
counsel regarding the request for continuance.

Any referenced document can be found at pacer.insb.uscourts.gov or may be requested
from the filing party.

Attorney for Creditor Colonial National Mortgage, a division of Colonial must distribute
this order.

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